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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       CENTRAL DIVISION


MICHAEL BOYD                                                 PLAINTIFF
ADC #115890
v.                     No. 4:20-cv-129-DPM-JJV
GREG RECHCIGL, Health
Services Administrator, East
Arkansas Regional Unit, et al.                           DEFENDANTS

                                 ORDER
      The Court adopts Magistrate Judge Volpe1 s unopposed
recommendation, Doc. 75.      FED.   R. CIV. P. 72(b) (1983 addition to
advisory committee notes).       Boyd's claims against Campbell are
dismissed without prejudice;         and Campbell is dismissed as a
defendant in this action. The Court certifies that an in forma pauperis
appeal from this Order would not be taken in good faith. 28 U.S.C. §
1915(a)(3).
     So Ordered.

                                                 "
                                  D.P. Marshall Jr.
                                  United States District Judge
